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      NEWPORT BEACH, CHRISTINE
    8 MARONEY, MONICA AGUILAR,
      JAMISON HUGHES AND JOSHUA
    9 COMTE
   10                                  UNITED STATES DISTRICT COURT
   11           CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
   12
   13 ASHLEY LAUREN WATTS,                                    Case No. 8:17-cv-01099-AG (SKx)
   14                         Plaintiff,                      The Honorable Andrew J. Guilford
                                                              Courtroom: 10D
   15             v.                                          Magistrate Judge Steve Kim
                                                              Courtroom: 540
   16 CITY OF NEWPORT BEACH,
      CHRISTINE MARONEY, MONICA
   17 AGUILAR, JAMISON HUGHES,                                DECLARATION OF JAMES R.
      JOSHUA COMTE, AMERICAN                                  HIGH, M.D.
   18 GROUND TRANSPORTATION, INC.,
      a California corporation, dba 24/7
   19 YELLOW CAB and dba 24/7 TAXI                            [Filed concurrently herewith Ex Parte
      CAB, ALI KHANDANTABRIZI, and                            Application for Mental Evaluation,
   20 DOES 1 through, 10, inclusive,                          Declaration of Brian Wright-Bushman
                                                              and [Proposed] Order]
   21                         Defendants.
   22
   23                                                         Trial Date:            July 10, 2018
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   28
        01088.0036/477174.2
                                                           -1-                   Case No. 8:17-cv-01099-AG (SKx)
                                            DECLARATION OF JAMES R. HIGH, M.D.
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    1                         DECLARATION OF JAMES R. HIGH, M.D.
    2                 I, James R. High, M.D., do declare:
    3                 1. I am a medical doctor licensed to practice in the state of California. I
    4 make this declaration on personal knowledge. If called as a witness herein, I could
    5 and would testify competently to the matters set forth below. I file this declaration
    6 in support of City Defendants’ Ex Parte Application for Mental Examination of
    7 Plaintiff Under FRCP 35.
    8                 2. I understand that the court requires my declaration as to the nature,
    9 scope and conditions of the mental examination of the proposed psychiatric
   10 examination of the Plaintiff Lauren Ashley Watts (“Plaintiff”), which I believe
   11 would be necessary and sufficient for a thorough evaluation of her severe post-
   12 traumatic stress disorder claims.
   13                 3. Based on my knowledge and training and also based on my experience
   14 in performing over 1,000 independent medical examinations, it is my professional
   15 opinion and also my customary standard and practice to perform a face-to-face
   16 psychiatric examination of Plaintiffs when possible.
   17                 4. My psychiatric examination portion generally takes an estimated three
   18 to four hours. It involves history taking and observation of the Plaintiff for the
   19 purpose of gathering information in specific areas. These include her demographic
   20 details, current complaints for which she might seek care, the history of her illness
   21 including her subjective experience of the events leading to psychiatric damages.
   22 Further history is obtained concerning the development of psychiatric and physical
   23 symptoms, what treatments she has received, and the effect of those treatments on
   24 her symptoms.
   25                 5. In addition to the history of the incident and psychiatric damages at
   26 issue, I also gather important information about past psychiatric and medical
   27 illnesses and difficulties, and past behavioral difficulties. I also gather important
   28 developmental information concerning her family of origin, psychiatric and medical
        01088.0036/477174.2
                                                     -2-                   Case No. 8:17-cv-01099-AG (SKx)
                                      DECLARATION OF JAMES R. HIGH, M.D.
Case 8:17-cv-01099-RGK-SK Document 60-1 Filed 05/31/18 Page 3 of 11 Page ID #:1088




    1 difficulties within that family, her educational background, her work history, and her
    2 social development history including information about marriages and children.
    3                 6. Concomitant with this examination, I am making observations and
    4 inquiries necessary for a full mental status evaluation of the patient, her moods, her
    5 thought processes, and thought content.
    6                 7. Following my examination, the information gathering is continued by a
    7 standard, validated series of psychological tests. This not only provides further
    8 information about the Plaintiff’s psychological damages, but also serves as a check
    9 on my subjective impressions. This test battery will consist of two instruments
   10 proven to give reliable and valid information about a person’s mental state and
   11 difficulties. These including the Minnesota Multiphasic Personality Inventory-2
   12 Restructured Form (MMPI-2-RF) and the Trauma Symptom Inventory (TSI-2). I
   13 will determine whether any other tests such as cognitive screening instruments need
   14 to be administered on the day of, and based on the finds of, the psychiatric
   15 examination, and notify the parties.
   16                 8. The estimated time for completion of this part of the examination is
   17 also approximately three to four hours. It should be understood that these can only
   18 be estimates because the speed with which the Plaintiff is able to convey the
   19 information she needs to fully explain her injurious experience and the speed with
   20 which she takes the tests are primarily under her control. For instance, the range of
   21 time that Plaintiffs have needed to complete the MMPI in my experience has varied
   22 from 40 minutes to 6 hours.
   23                 9. No invasive or painful procedures will be utilized. This evaluation will
   24 be conducted in conformity to FRCP 35 and applicable case law.
   25                 10. I am available to conduct these examinations on June 11, 2018 at 9:00
   26 a.m. and have reserved this date for the Plaintiff’s examination.
   27                 11. A true and accurate copy of my curriculum vitae is attached hereto as
   28 Exhibit A.
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                                                     -3-                   Case No. 8:17-cv-01099-AG (SKx)
                                      DECLARATION OF JAMES R. HIGH, M.D.
Case 8:17-cv-01099-RGK-SK Document 60-1 Filed 05/31/18 Page 4 of 11 Page ID #:1089



    1                I declare under penalty of perjury the foregoing is true and correct.
    2 Executed this 30th day of May, 2018, at Santa Monica, California.
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                                                         mes R. High, M.
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                                                   -4-                   Case No. 8:17-cv-01099-AG (SKx)
                                    DECLARATION OF JAMES R. HIGH, M.D.
Case 8:17-cv-01099-RGK-SK Document 60-1 Filed 05/31/18 Page 5 of 11 Page ID #:1090




                      EXHIBIT A
Case 8:17-cv-01099-RGK-SK Document 60-1 Filed 05/31/18 Page 6 of 11 Page ID #:1091



           BEHAVIORAL DIAGNOSTICS MEDICAL GROUP, INC.
                                  Clinical and Consulting Psychiatry
                                      501 Santa Monica Boulevard
                                               Suite 400
                                    Santa Monica, California 90401


    James R. High, M.D.                                                Phone: (310) 395-8711
    Diplomate American Board                                           Fax: (310) 395-3098
    of Psychiatry and Neurology                                           jrhigh@drhigh.com




                                   CURRICULUM VITAE


    Name:                 James R. High, M.D.
    Tax ID #:             XX-XXXXXXX
    Office Address:       501 Santa Monica Boulevard, Suite 400
                          Santa Monica, California 90401
    Office Telephone:     (310) 395-8711
    Specialty:            Adult Psychiatry


    EDUCATION:

                   Indiana University, Bloomington, Indiana - B.A., Medical Science 1965

                   Indiana University School of Medicine - Doctor of Medicine 1968

                   Los Angeles County-University of Southern California Medical Center
                         - Internship 1968-1969

                   Los Angeles County-University of Southern California Medical Center,
                         Resident in Psychiatry 1969-1972

                   Chief Resident in Psychiatry, Los Angeles County-University of Southern
                          California Medical Center 1971-1972


    LICENSURE:

           Physician and Surgeon's License (State of California #C31416)
           DEA Narcotics License #AH 4401256
           Qualified Medical Evaluator - Psychiatry - State of California #001489 (1996-1998)
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    James R. High, M.D.
    Curriculum Vitae, Page 2



    BOARD CERTIFICATION:

             Diplomate, American Board of Psychiatry and Neurology --
                   Psychiatry, April, 1976. Certificate No. 14829


    ACADEMIC APPOINTMENTS:

                      Clinical Professor of Psychiatry --
                             University of Southern California Keck School of Medicine --
                             1976 to present


    CURRENT PROFESSIONAL ACTIVITIES:

                      Private Practice -- Full time, 1972 to present

                      Supervision of Senior Residents of Los Angeles County --
                             USC Medical Center, 1988 to present


    PAST PROFESSIONAL ACTIVITIES:

                      Psychiatric Consultant — Los Angeles County Metropolitan Transit Authority --
                             Traumatic Injury Program, 1990 to 2002.

                      Taught seminar weekly on interview techniques and psychiatric diagnostic
                            evaluations to USC medical students — 1977 to 1988

                      Director of Adult Psychiatry — Western Institute of Human Resources — 1972.

                      Staff Psychiatrist — California Department of Corrections Adult Parole Outpatient
                              Clinic — Los Angeles — 1971-1972.

                      Teach Seminars and Supervise in USC Traumatic Stress Clinic - 2001 to 2010.
                             Department of Psychiatry, LAC-USC Medical Center,


    HOSPITAL AFFILIATIONS:

                      LAC/USC Medical Center - Member, Professional Staff Association
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    James R. High, M.D.
    Curriculum Vitae, Page 3



    PROFESSIONAL SOCIETY MEMBERSHIPS:

                      American Psychiatric Association (Life Fellow)
                      Southern California Psychiatric Society
                      California Psychiatric Association
                      The International Society for Traumatic Stress Studies
                      American Academy of Psychiatry and the Law
                      Academy of Consultation-Liaison Psychiatry
                      Society for Personality Assessment


    PUBLICATIONS:

                      High, J.R. (1999) Deception through Factitious Identity. Journal of Psychiatry
                             and Law, 27, 483-547.

                      High, J.R. & Armstrong, J. (1999). Guidelines for Differentiating Malingering
                             from PTSD. National Center for PTSD Clinical Quarterly, 8(3), 46-47.

                      Southwick, S.M., Morgan, C.A., Charney, D.S. & High, J.R. (1999). Yohimbine
                            Use in a Natural Setting: Effects on Posttraumatic Stress Disorder.
                            Journal of Biological Psychiatry, 442-444.

                      High, J.R. & Armstrong, J.G. A Case of PTSD in Casebook for Abnormal
                             Psychology. Edited by Irving Weiner. Wiley, (2003), 137-153.


    PRESENTATIONS:

                      High, J.R., Armstrong, J. & Saks, E. (November 7-10, 2002). Forensic
                            Evaluations of Complex Trauma Cases in Civil Litigation. ISTSS 18th
                            Annual Meeting, Baltimore, MD.

                      High, J.R., Dalenberg, C. & Armstrong, J. (November 7-10, 2002). Counter
                             Transference in Complex PTSD. ISTSS 18th Annual Meeting, Baltimore,
                             MD.

                      High, J.R. (July 12, 2000). Factitious Identity Disorder. Presented In Symposium
                             - False Memory and False Litigants. XXV Congress International
                             Academy of Law and Mental Health, Siena, Italy.

                      High, J.R. (November 20-23, 1998). Trauma Deception and Impaired
                             Attachment. In Symposium; True Lies, False Memories in Munchausen's
                             Syndrome, Dissociation & Trauma. Ending Cycles of Violence, XIV
                             Annual Meeting, International Society for Traumatic Stress Studies,
                             Washington, D.C.
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    James R. High, M.D.
    Curriculum Vitae, Page 4



                      High, J.R., Armstrong, J.G. & Dahlenberg, C. (November, 1997). Management
                             and Treatment of Dissociative Symptoms in Post-Traumatic Stress
                             Disorder Patients. Invited Institute, Annual Meeting, International Society
                             for Traumatic Stress Studies, Montreal, Canada.

                      High, J.R. (1997). "Doyle v. Superior Court of Santa Clara County" -
                             Implications for Civil Litigation in California. Biannual Meeting,
                             American Academy of Psychiatry and Law, Southern California Chapter.
Case 8:17-cv-01099-RGK-SK Document 60-1 Filed 05/31/18 Page 10 of 11 Page ID
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   1                                CERTIFICATE OF SERVICE
   2 STATE OF CALIFORNIA, COUNTY OF ORANGE
   3       At the time of service, I was over 18 years of age and not a party to, this
     action. I am employed in the County of Orange, State of California. My business
   4 address is 18881 VonKarman Avenue, Suite 1700, Irvine, CA 92612.
   5        On May 31, 2018, I served true copies of the following document(s)
     described as DECLARATION OF JAMES R. HIGH, M.D. on the interested
   6 parties in this action as follows:
   7                             SEE ATTACHED SERVICE LIST
   8       BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
     the document(s) with the Clerk of the Court by using the CM/ECF system.
   9 Participants in the case who are registered CM/ECF users will be served by the
     CM/ECF system. Participants in the case who are not registered CM/ECF users will
  10 be served by mail or by other means permitted by the court rules.
  11       I declare under penalty of perjury under the laws of the United States of
     America that the foregoing is true and correct and that I am employed in the office
  12 of a member of the bar of this Court at whose direction the service was made.
  13             Executed on May 31, 2018, at Irvine, California.
  14
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                                                    Carla Durkee
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                                                  -1-               Case No. 8:17-cv-01099-AG (SKx)
                                         CERTIFICATE OF SERVICE
Case 8:17-cv-01099-RGK-SK Document 60-1 Filed 05/31/18 Page 11 of 11 Page ID
                                 #:1096



  1                                        SERVICE LIST
                            Ashley Lauren Watts v. City of Newport Beach, et al.
  2                         Case No. USDC, Case No. 8:17-cv-01099-AG (SKx)
  3 Jerry L. Steering, Esq.                             Attorneys for Plaintiff
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  4 STEERING
    4063 Birch Street, Suite 100                          Tel: (949) 474-1849
  5 Newport Beach, CA 92660                               Fax: (949) 474-1883
                                                          Email: jerrysteering@yahoo.com
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    Paul J. Nolan, Esq.                                   Attorneys for Defendant
  7 Stephanie Mavromatis, Esq.                            AMERICAN                GROUND
    WOOD, SMITH, HENNING & BERMAN                         TRANSPORTATION, INC. dba 24/7
  8 LLP                                                   YELLOW CAB and dba 24/7 TAXI
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  9 Rancho Cucamonga, CA 91730-3824
                                                          Tel: (909) 987-5240
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                                                          Email: pnolan@wshblaw.com
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 12
    Matthew Lewis, Esq.                                   Attorney for Defendant
 13 Cameron Dowlatshahi, Esq.                             ALI KHANDANTABRIZI
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                                                SERVICE LIST
